










COURT OF APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH
&nbsp;
NO. 
2-05-206-CV
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&nbsp;
&nbsp;
IN 
THE INTEREST OF H.C.G., A MINOR CHILD
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&nbsp;
&nbsp;
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&nbsp;
FROM 
THE 325TH DISTRICT COURT OF TARRANT COUNTY
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&nbsp;
MEMORANDUM OPINION1 AND JUDGMENT
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On 
June 7, 2005 and June 22, 2005, we notified appellant, in accordance with rule 
of appellate procedure 42.3(c), that we would dismiss this appeal unless the 
$125 filing fee was paid.&nbsp; See Tex. R. App. P. 42.3(c).&nbsp; Appellant 
has not paid the $125 filing fee.&nbsp; See Tex. R. App. P. 5, 12.1(b).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because 
appellant has failed to comply with a requirement of the rules of appellate 
procedure and the Texas Supreme Court’s order of July 21, 1998,2 we dismiss the appeal.&nbsp; See Tex. R. App. P. 42.3(c), 43.2(f).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant 
shall pay all costs of this appeal, for which let execution issue.&nbsp; See 
Tex. R. App. P. 43.4.
&nbsp;&nbsp; 
&nbsp;&nbsp; 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER 
CURIAM
&nbsp; 
&nbsp;
PANEL 
D: DAUPHINOT, HOLMAN, and GARDNER, JJ.
&nbsp;
DELIVERED: 
July 21, 2005

&nbsp;
NOTES
1.&nbsp; 
See Tex. R. App. P. 47.4.
2.&nbsp; 
July 21, 1998 “Order Regarding Fees Charged In Civil Cases In The Supreme 
Court And The Courts of Appeals,” 971-972 S.W.2d (Tex. Cases) XXXVIII (1998).



